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                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF CONNECTICUT
_______________________________________________________________
                                          :
CONSERVATION LAW FOUNDATION, INC.,        :
                                          :
             Plaintiff,                   :
      v.                                  :
                                          :                       Case No. 3:21-cv-00201-JBA
ALL-STAR TRANSPORTATION, LLC, and         :
STUDENT TRANSPORTATION OF                 :
AMERICA, LLC.                             :
                                          :
            Defendants.                   :
__________________________________________:

              JOINT 26(F) REPORT OF THE PARTIES’ PLANNING MEETING

        Pursuant to Federal Rules of Civil Procedure 16(b) and 26(f), and District of Connecticut

Local Civil Rule 16, on April 26, 2022 the following participated in a Parties’ Planning Meeting:

        On behalf of Plaintiff Conservation Law Foundation (“CLF”):
             •   Shannon I. Laun, Esq., CLF
             •   Heather A. Govern, Esq., CLF
             •   Juanita Gibson, CLF
        On behalf of Defendants All-Star Transportation, LLC (“All-Star”) and Student
Transportation of America, LLC (“STA LLC”):
             •   Jonathan R. Shulan, Esq., Armstrong Teasdale LLP
             •   Bianca A. Valcarce, Esq., Armstrong Teasdale LLP
             •   Melicent B. Thompson, Esq., Gfeller Laurie LLP

I.      CERTIFICATION.
        Undersigned counsel (after consultation with their respective clients) certify that:

        1. They discussed the nature and basis of the parties’ claims and defenses, and any

             possibilities for achieving a prompt settlement or other resolution of the case; and

        2. They have developed the following proposed case management plan.

Counsel further certify that they have forwarded a copy of this report to their respective clients.
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II.    JURISDICTION.
       A.         Subject Matter Jurisdiction:
       All parties agree that the plaintiff’s claims, brought pursuant to the Federal Clean Air Act

42 U.S.C. §§ 7401 et seq. (“CAA”), properly confer federal question jurisdiction. However, the

defendants maintain that the plaintiff lacks standing to bring those claims, depriving the Court of

subject matter jurisdiction. As set forth in their motion for pre-filing conference, ECF No. 35, the

defendants intend to file a motion to dismiss pursuant to Rule 12(b)(1). At the pre-filing

conference held on October 21, 2021, the defendants requested the Court’s permission to conduct

limited and targeted jurisdictional discovery in furtherance of their factual attack on the Court’s

subject matter jurisdiction. The plaintiff consents to the requested jurisdictional discovery and

requests the Court’s permission to conduct its own comparable limited and targeted jurisdictional

discovery to which defendants consent.

       B.         Personal Jurisdiction:
       All parties agree that the Court has personal jurisdiction over All-Star. However, the

defendants do not agree that the Court may exercise personal jurisdiction over STA LLC. As set

forth in the defendants’ motion for pre-filing conference, ECF No. 35, STA LLC is a defunct entity

that did not exist during the timeframe of the plaintiff’s allegations and which lacks sufficient

minimum contacts with Connecticut such that it may be subject to the Court’s jurisdiction. To the

extent the plaintiff intended to sue All-Star’s parent company, the defendants contend that the

parent similarly lacks sufficient minimum contacts with Connecticut such that it may be subject to

the Court’s jurisdiction. Accordingly, STA LLC intends to file a motion to dismiss pursuant to

Rule 12(b)(2). The plaintiff requests the Court’s permission to conduct limited and targeted

jurisdictional discovery to gather facts in opposition to that motion, and the defendants consent to

that discovery.



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III.   BRIEF DESCRIPTION OF THE CASE.
       A.      Claims of Plaintiff:
       The plaintiff alleges that the defendants violated the Clean Air Act by idling its school

buses for more than 3 minutes on at least 83 occasions in 2019, 2020, and 2021. The plaintiff

seeks the imposition of civil penalties and requests injunctive relief in the form of an Order

directing the defendants to comply with Connecticut idling laws and the Clean Air Act.

       B.      Defenses and Claims of Defendants:
       The defendants dispute the plaintiff’s allegations and, in addition to their jurisdictional

defenses discussed above, maintain that any excess idling fell within the recognized exceptions to

Connecticut’s Anti-Idling Law, Regs. Conn. State Agencies § 22a-174-18(b)(3)(C)(i–vii), and

therefore did not violate the Clean Air Act.

IV.    STATEMENT OF UNDISPUTED FACTS.
       Undersigned counsel certify that they have made a good faith attempt to determine whether

there are any material facts that are not in dispute. The following material facts are undisputed:

       1. CLF is a Boston-based, member-supported nonprofit environmental organization

            serving the New England area.

       2. All-Star is a limited liability corporation organized under the laws of the State of

            Connecticut, and owns and operates school buses throughout Connecticut.

       3. STA LLC withdrew its registration with the Connecticut Secretary of State on

            September 30, 2016.

       4. On December 18, 2020, CLF sent a 60-day Notice of Violation and Intent to File Suit

            letter to All-Star and STA LLC, alleging that on numerous occasions All-Star violated

            the Clean Air Act due to excessive idling of buses at four All-Star bus lots.




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V.     CASE MANAGEMENT PLAN.
       A.          Initial Disclosures:
       Initial Disclosures will be served by May 31, 2022.

       B.          Scheduling Conference:
       The parties prefer that a scheduling conference, if held, be conducted by telephone or

videoconference technology.

       C.          Early Settlement Conference:
         1.        The parties certify that they have considered the potential benefits of attempting to

     settle the case before undertaking significant discovery or motion practice. The parties

     participated in mediation sessions before Magistrate Judge Robert A. Richardson on

     February 8, 2022, and again on March 21, 2022. The parties were unable to reach a

     settlement and believe that settlement is unlikely at this time.

         2.        The parties do not at this time request further early settlement conferences.

         3.        Should the parties in the future again seek the assistance of the Court in facilitating

     a settlement conference, the parties would prefer such conference to be held with Magistrate

     Judge Robert A. Richardson given his familiarity with the case and the parties’ positions.

         4.        The parties do not at this time request a referral for alternative dispute resolution

     pursuant to District of Connecticut Local Civil Rule 16.

       D.          Joinder, Amendment of Pleadings, and Motions Addressed to the Pleadings:
       The parties have discussed any perceived defects in the pleadings and have reached the

following agreements for resolution of any issues related to the sufficiency of the pleadings:

              i.    The plaintiff abides by its representation to the Court during the Pre-Filing

                    Conference held on October 21, 2022 that it will not seek to amend the Complaint.




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                 ii.    The defendants will not seek to join any additional parties and, if the

                        aforementioned Rule 12 motions are not granted in their entirety, will file an

                        Answer in accordance with the schedule set forth below in Subpart E: Discovery.

       E.              Discovery:
         a.            Recognizing that the precise contours of the case, including the amounts of

     damages at issue, if any, may not be clear at this point in the case, in making the proposals

     below concerning discovery, the parties have considered the scope of discovery permitted

     under Rule 26(b)(1). At this time, the parties wish to apprise the Court of the following

     information regarding the “needs of the case”:

       In light of the defendants’ anticipated jurisdictional motions, as set forth above, the parties

agree to the following schedule for limited, targeted jurisdictional discovery:

            i.         Jurisdictional discovery shall commence on May 24, 2022 (or two weeks from the

                       date of submission of the foregoing Joint Rule 26(f) Report), unless the Court

                       directs otherwise;

            ii.        Jurisdictional discovery shall close on August 22, 2022 (or 90 days from the date

                       that jurisdictional discovery commences);

            iii. The defendant may file the aforementioned Rule 12 motions on or before

                       September 21, 2022 (or 30 days from the close of jurisdictional discovery);

            iv. The plaintiff shall have 30 days from the date of filing to respond to the defendants’

                       Rule 12 motions;

            v.         The defendants shall have 15 days from the date of filing of the plaintiff’s

                       oppositions to reply in support of their Rule 12 motions;

            vi. The parties do not agree as to the potential necessity of a surreply and therefore

                       defer to the Court, in accordance with its stated pre-trial preferences, as to the


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         plaintiff’s leave to file such surreply;

    vii. If any claims remain pending after the Court rules on the defendants’ Rule 12

         motions, the defendants shall have 14 days from the date of the Court’s ruling to

         file their Answer(s);

    viii. Merits discovery shall commence on the date of filing of the defendants’

         Answer(s);

    ix. Within 14 days of the filing of the defendants’ Answer(s), the parties shall convene

         a second Parties’ Planning Meeting in accordance with Local Civil Rule 26(f) at

         which conference the parties shall determine their responses to the remainder of the

         Rule 26(f) Report form. The parties shall thereafter file a Second Joint Rule 26(f)

         Report setting forth a proposed schedule for the remainder of the litigation.

   b.    The parties are unable to anticipate at this time the precise subjects on which merits

discovery will be needed, as the contours of such discovery will be shaped by the outcome

of the above-outlined jurisdictional discovery and motion practice. Accordingly, as set forth

above in Subsection E(a), the parties shall conduct a second Rule 26(f) Parties’ Planning

Meeting after such motion practice is concluded, if necessary, and shall submit thereafter a

Second Joint Rule 26(f) Report providing this information.

   c.    All discovery, including depositions of expert witnesses pursuant to Federal Rule

of Civil Procedure 26(b)(4), will be commenced by the date set forth in the parties’ Second

Joint Rule 26(f) Report, as outlined above.

   d.    The parties are unable to determine at this time whether merits discovery in this

matter should be conducted in phases. As provided for above, the parties shall provide an




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updated response to the Court in their Second Joint Rule 26(f) Report after the conclusion of

jurisdictional discovery and related motion practice.

   e.    The parties are unable to determine at this time the anticipated number of

depositions of fact witnesses or an appropriate schedule for the taking of such depositions.

As provided for above, the parties shall provide an updated response to the Court in their

Second Joint Rule 26(f) Report after the conclusion of jurisdictional discovery and related

motion practice.

   f.    The parties do not at this time anticipate requesting the Court’s permission to serve

more than 25 interrogatories.

   g.    The parties anticipate that they will call expert witnesses at trial.

   h.    The parties are unable to determine at this time an appropriate schedule for the

designation of trial experts, submission of expert reports, or the taking of expert depositions.

As provided for above, the parties shall provide an updated response to the Court in their

Second Joint Rule 26(f) Report after the conclusion of Jurisdictional Discovery and related

motion practice.

   i.    The parties are unable to determine at this time an appropriate schedule for the

submission of damages analyses. As provided for above, the parties shall provide an updated

response to the Court in their Second Joint Rule 26(f) Report after the conclusion of

jurisdictional discovery and related motion practice.

   j.    Undersigned counsel (after consultation with their respective clients concerning

computer-based and other electronic information management systems, including historical,

archival, back-up and legacy files, in order to understand how information is stored and how

it may be retrieved) have discussed the disclosure and preservation of electronically stored




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information, including, but not limited to, the form in which such data shall be produced,

search terms and/or other techniques to be used in connection with the retrieval and

production of such information, the location and format of electronically stored information,

appropriate steps to preserve electronically stored information (“ESI”), and the allocation of

costs of assembling and producing such information. The parties agree to the following

procedures for the preservation disclosure and management of ESI:

    i.    The parties shall preserve relevant and responsive ESI and continue routine

          computer operations critical to ongoing activities, including the automatic creation

          and deletion or overwriting of certain non-relevant, non-responsive information;

    ii.   The parties shall produce ESI that is relevant, responsive, not privileged, and

          reasonably accessible, as defined by Federal Rule of Civil Procedure 26(b)(2)(B),

          subject to the limitations set forth in Federal Rule of Civil Procedure 26(b)(2)(C)

          that apply to all discovery;

    iii. ESI responsive to discovery requests will be produced in either hard copy or in text-

          searchable PDF format, except for spreadsheets which are to be produced in native

          file format;

    iv. Any emails to be produced will be produced with the attachments thereto, unless

          such attachment has been previously produced and is readily identifiable;

    v.    Parties will preserve, but not disclose, metadata concerning any ESI responsive to

          discovery requests and that metadata will be produced to the requesting party only

          upon entry of a court order upon good cause shown.

   k.     Undersigned counsel (after consultation with their clients) have also discussed the

location(s), volume, organization, and costs of retrieval of information stored in paper or




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other non-electronic forms.      The parties agree to the following procedures for the

preservation, disclosure and management of such information:

    i.    The parties shall preserve relevant non-electronically stored records.

    ii.   The parties shall take steps to prevent the destruction of potentially relevant non-

          electronically stored information.

    iii. Unless otherwise agreed to by the parties, all relevant non-electronically stored

          documents produced in accordance with a discovery request shall be provided in in

          either hard copy or in text-searchable PDF format.

   l.     Undersigned counsel have discussed discovery procedures that minimize the risk

of waiver of privilege or work-product protection, including procedures for asserting

privilege claims after production. The parties agree to the following procedures for asserting

claims of privilege after production:

    i.    The producing party has the burden of retrieving and reviewing relevant,

          reasonably accessible and responsive ESI for privilege prior to production;

    ii.   Claims of privilege with regard to ESI shall be asserted in accordance with Federal

          Rule of Civil Procedure 26(b)(5) on a log pursuant to District of Connecticut Local

          Civil Rule 26(e).

    iii. With respect to withholding information on the basis of privilege or work-product

          protection, the parties will comply with Federal Rule of Civil Procedure 26, except

          that a privilege log need not be produced for the following documents: (a) counsel’s

          notes; and (b) attorney-client communications (including emails) that occurred

          after the plaintiff retained counsel in connection with the matters alleged in the

          complaint.




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 iv. If the parties dispute a claim of privilege, then within thirty (30) days of being

      informed in writing (or via email) that a dispute still exists (after good faith efforts

      to resolve that dispute have been reasonably exhausted), the party claiming

      privilege will file a motion under seal for in camera review.

 v.   Undersigned counsel have agreed that, in accordance with Federal Rule of Civil

      Procedure 26, inadvertent production of privileged material will not be deemed to

      waive the privilege. The party claiming inadvertent disclosure of privileged

      documents or attorney work-product shall notify opposing counsel of the

      inadvertent disclosure with specific identification of the document(s) at issue and

      the basis for such claim of privilege or protection within thirty (30) days of learning

      of such disclosure. If a document appears on its face to be subject to attorney-client

      privilege or to constitute attorney work-product and/or the parties agree as to the

      privilege or protection, the document and all copies (electronic and paper) shall be

      returned to the requesting counsel or otherwise agree and certify as to its

      destruction, and such shall not be used or referred to in any manner in litigation. If

      counsel cannot agree as to the privilege status or work-product status of the

      document, the document at issue shall be segregated from all other materials and

      submitted to the U.S. Magistrate Judge for in camera inspection and determination.

 vi. The parties reserve the right to demand the production of a privilege log in the event

      that either party demands the return of inadvertently produced privileged materials

      and the parties reserve their rights to challenge the assertion of any privileges with

      respect to any documents or information identified in such a privilege log.




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       F.      Other Scheduling Issues
       The parties do not have additional scheduling issues to raise with the Court at this time, but

shall if necessary, and as outlined above, provide an updated response to the Court in their Second

Joint Rule 26(f) Report after the conclusion of jurisdictional discovery and related motion practice.

       G.      Summary Judgement Motions
       The parties are unable to determine at this time an appropriate schedule for the filing of

summary judgment motions. As provided for above, the parties shall provide an updated response

to the Court in their Second Joint Rule 26(f) Report after the conclusion of jurisdictional discovery

and related motion practice.

       H.      Joint Trial Memorandum:
       The parties are unable to determine at this time an appropriate schedule for the filing of a

joint trial memorandum. As provided for above, the parties shall provide an updated response to

the Court in their Second Joint Rule 26(f) Report after the conclusion of jurisdictional discovery

and related motion practice.

       II.     TRIAL READINESS.
       The parties are unable at this time to anticipate a trial-ready date, which will be dependent

upon the development of the record through the above-outlined schedule. As provided for above,

the parties shall provide an updated response to the Court in their Second Joint Rule 26(f) Report

after the conclusion of jurisdictional discovery and related motion practice.




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       As officers of the Court, undersigned counsel agree to cooperate with each other and the

Court to promote the just, speedy and inexpensive determination of this action.


Dated: May 9, 2022

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                                                        and STUDENT TRANSPORTATION
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